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 6   Attorney for Defendant
     XAVIER JOHNSON
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 12-cr-00250-TLN
                                                     )
12                                                   )       STIPULATION AND
            Plaintiff,                               )       [PROPOSED] ORDER CONTINUING CASE
13                                                   )       AND EXCLUDING TIME
     v.                                              )
14                                                   )
     XAVIER JOHNSON,                                 )       Date: January 8, 2015
15                                                   )       Time: 9:00 am.
     KRISTIN M. CALDWELL,                            )       Judge: Honorable Troy L. Nunley
16
     WILLIAM L. BROWN.                               )
                                                     )
17          Defendants.                              )
                                                     )
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21
            IT IS HEREBY stipulated between the United States of America through its undersigned

22
     counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff, together with

23
     Kelly Babineau, attorney for defendant Kristin Caldwell; William Dubois, attorney for

24
     defendant William L. Brown and Kyle Knapp, attorney for defendant, Xavier Johnson, that the

25
     previously-scheduled status conference, currently set for October 16, 2014, be vacated and that

26
     the matter be set for status conference on January 8, 2015 at 9:30 a.m.

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            Counsel have conferred and this continuance is requested to allow defense counsel

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     additional time to finalize review of the discovery, met again with our clients, investigate



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 1   possible defenses and to continue exploring the facts of the case. In addition, there are plea
 2   agreements forthcoming which will have to be triaged with our respective clients.
 3          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 4   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
 5   time within which the trial of this case must be commenced under the Speedy Trial Act should
 6   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 7   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, October
 8   16, 2014 up to and including January 8, 2015..
 9   IT IS SO STIPULATED.
10
     Dated: October 14, 2014                                     BENJAMIN B. WAGNER
11                                                               UNITED STATES ATTORNEY

12                                                        by:    /s/ Matthew Morris
                                                                 MATTHEW MORRIS
13
                                                                 Assistant U.S. Attorney
14                                                               Attorney for Plaintiff

15   Dated: October 14, 2014                                     /s/ Kelly Babineau
16
                                                                 KELLY BABINEAU
                                                                 Attorney for Defendant
17                                                               Kristin Caldwell
18   Dated: October 14, 2014                                     /s/ William Dubois
19
                                                                 WILLIAM DUBOIS
                                                                 Attorney for Defendant
20                                                               WILLIAM L. BROWN
21
     Dated: October 14, 2013                                     /s/ Kyle R. Knapp
22                                                               KYLE KNAPP
                                                                 Attorney for Defendant
23                                                               XAVIER JOHNSON
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 1
                                                 ORDER
 2
            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s October 16, 2014 criminal calendar
 4
     and re-calendared for status conference on January 8, 2015.
 5
            Based on the representations of the parties the court finds that the ends of justice served
 6
     by granting this continuance outweigh the interests of the public and the defendant in a speedy
 7
     trial. Time is excluded from the time of the filing of this stipulation on October 14, 2104
 8
     through and including January 8, 2015.
 9

10          IT IS SO ORDERED.

11   Dated: October 14, 2014
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14                                                       Troy L. Nunley
                                                         United States District Judge
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